         Case 1:21-cv-00100-EGS Document 180 Filed 12/07/22 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 NANCY GIMENA HUISHA-HUISHA, on
 behalf of herself and others similarly situated,

                     Plaintiffs,

         v.                                                       Civ. A. No. 21-100 (EGS)

 ALEJANDRO MAYORKAS, Secretary of
 Homeland Security, et al.,

                     Defendants.


                                       NOTICE OF APPEAL
       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from this Court’s November 15, 2022 Memorandum

Opinion and Order (ECF Nos. 164 & 165) and November 22, 2022 Final Judgment (ECF No. 170).


 Dated: December 7, 2022                            Respectfully submitted,

 MATTHEW M. GRAVES, D.C. Bar. #481052               BRIAN M. BOYNTON
 United States Attorney                             Principal Deputy Assistant Attorney General

 BRIAN P. HUDAK                                     JEAN LIN
 Chief, Civil Division                              Special Litigation Counsel, NY Bar #4074530
                                                    Federal Programs Branch
 SEAN M. TEPE, DC Bar #1001323
 Assistant United States Attorney                   /s/ John Robinson
 601 D Street, N.W.                                 JOHN ROBINSON, DC Bar #1044072
 Washington, D.C. 20530                             Trial Attorney
 Phone: (202) 252-2533                              U.S. Department of Justice
 Email: sean.tepe@usdoj.gov                         Civil Division, Federal Programs Branch
                                                    1100 L Street N.W.
                                                    Washington, DC 20530
                                                    Tel (202) 616-8489
                                                    Email: john.robinson@usdoj.gov

                                                    Counsel for Defendants
